
Upon consideration of the petition for discretionary review, filed by Plaintiffs on the 31st day of January 2008 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 11th day of June 2008."
Plaintiffs shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Accordingly, the new brief of the Plaintiffs shall be filed with this Court not more than 30 days from the date of certification of this order.
